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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 2:21-cv-14349-KMM


   JILLIAN RICARD, individually and on
   behalf of all others similarly situated,          CLASS ACTION

          Plaintiff,

   v.

   ROB GRAHAM ENTERPRISES, LLC,
   d/b/a 100 INSURE,

          Defendant.


                                   JOINT NOTICE OF SETTLEMENT

         The Parties, by and through their undersigned counsel, hereby give notice that they have

  reached a settlement with respect to the claims in this matter.

         Plaintiff and Defendant anticipate filing a Stipulation of Dismissal within thirty (30) days.



  Dated: February 25, 2022

  Respectfully Submitted,


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                                           Enterprises, LLC d/b/a 100 Insure




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